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                               UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
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11 ALONZO BERNARD JOHNSON,                          Case No. 2:18-cv-06293-FLA (JCx)
12
                           Petitioner,
13                                                  ORDER ACCEPTING FINDINGS,
                    v.                              CONCLUSIONS, AND
14
                                                    RECOMMENDATIONS OF
15 SHERMAN STEWART, Warden,                         UNITED STATES MAGISTRATE
                                                    JUDGE
16
                         Respondent.
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18
19          Pursuant to 28 U.S.C. § 636, the court has reviewed the Petition for Writ of
20    Habeas Corpus by a Person in State Custody and the Supplemental Petition (collectively,
21    “Petition”) and all of the records herein, including the July 6, 2021 Report and
22    Recommendation of United States Magistrate Judge (“Report and Recommendation”).
23    The court approves and accepts the Report and Recommendation.
24          IT IS HEREBY ORDERED that the Petition is DENIED, this action is
25    DISMISSED with prejudice, and Judgment be entered accordingly.
26    ///
27    ///
28    ///
     Case 2:18-cv-06293-FLA-JC Document 29 Filed 10/28/21 Page 2 of 2 Page ID #:1454




 1          IT IS FURTHER ORDERED that the Clerk serve copies of this Order and the
 2    Judgment herein on Petitioner and on Respondent’s counsel.
 3          IT IS SO ORDERED.
 4
 5    Dated: October 28, 2021
 6                                  _____________________________
                                    FERNANDO L. AENLLE-ROCHA
 7
                                    United States District Judge
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